                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

____________________________________
UNITED STATES OF AMERICA,            *               CRIMINAL DOCKET
                                     *
v.                                   *
                                     *               NUMBER: 2:21-cr-00126-MVL-KWR
EMPIRE BULKERS LTD., JOANNA          *
MARITIME LIMITED, and WARLITO *
TAN,                                 *               SECTION: “S”
                                     *
                  Defendants.        *
____________________________________*

                         MOTION FOR ADMISSION PRO HAC VICE

          Pursuant to Local Rule 83.2.5, undersigned counsel moves for the admission pro hac vice

of Briton P. Sparkman, of Chalos & Co, P.C., 55 Hamilton Avenue, Oyster Bay New York

11771, to represent Joanna Maritime Limited and Empire Bulkers Ltd., as co-counsel in this

action.

Dated: October 5, 2021
       New Orleans, Louisiana                               Respectfully Submitted,

                                                            /s/ Daphne P. McNutt
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                                                            Attorneys for Movants Joanna
                                                            Maritime Limited and Empire
                                                            Bulkers Ltd.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 5, 2021, I arranged for a copy of the foregoing Motion
for Admission Pro Hac Vice to be served on all counsel of record via the Court’s cm/ECF filing
system and via E-mail on counsel for the United States of America, as follows:

Attorneys for United States of America

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                                                         /s/ Daphne P. McNutt
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